Case 1:03-cr-10018-.]DT Document 68 Filed 08/11/05 Page 1 of 2 Page|D 49

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05 AL\B \ l A\‘\ B= \SUNITED STATES DISTRICT COURT

 

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ORDER OF PRODUCTION
NO: 1:03-10018-01-T
USA v. REGINALD RAGLAND
A]) Prosequendum
FOR; RE-sENTENc ING HEARING
TO: USM, Western District of TN

Warden, FCI TALLADEGA, FEDERAL CORRECTIONAL INSTITUTION
565 EAST RENFROE ROAD, TALLADEGA, AL 35160

 

YOU ARE HEREBY COMMANDED to have the person of

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by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

ofJackson, Tennessee, at 8:30 a.m.on the 12th day of S€Pt€mber ,20 05 ,

 

then and there to do, submit to, and receive whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. ~//" QMW_
ENTERED THIS 0 DAY oF ,20 OS_

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JAMES TODD
UNITE STATES DISTRICT .TUDGE

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with ama 55 and;or 32(1>) mch on l

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Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
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J. Patten BroWn

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Honorable J ames Todd
US DISTRICT COURT

